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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 08-81443-CV-HURLEY/HOPKINS

  SCS ALEXANDRE ET CIE d/b/a PRETTY
  YOU MONACO, a foreign corporation,

                     Plaintiff,

  vs.

  LANA MARKS LTD., INC.,
  a Florida corporation,

              Defendant.
  ______________________________________/

                        DEFENDANT’S RESPONSE TO THE
                      COURT’S ORDER TO SHOW CAUSE AND
                DEFENDANT’S MOTION TO VACATE ENTRY OF DEFAULT

          Defendant, Lana Marks Ltd., Inc., by and through its undersigned counsel and pursuant to

  Fed. R. Civ. P. 55, respond to the Court’s order to show cause and move this Court to vacate the

  clerk’s default.

                                               Background

          Plaintiff filed its complaint on or about December 3, 2008. On or about January 20,

  2009, Plaintiff served its complaint on an employee of the Defendant. Plaintiff did not serve

  process on its registered agent nor an officer of the company, but instead served a low-level clerk

  with the complaint. Some days later, the employee gave the copy of the complaint to Christine

  Wright, the accounting manager for Lana Marks Ltd., Inc. (“Lana Marks”).

          After receipt of the clerk’s default, Ms. Wright, on behalf of Defendant, moved for an

  extension of time, but because Defendant, a corporation, filed pro se, its request was denied by

  the Court. Sometime later, Defendant received the Court’s scheduling order. Christine Wright



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  was under the mistaken impression that, pursuant to the scheduling order, Defendant did not

  need to respond until the trial date, which was set for January 11, 2010 (See Wright Declaration

  and Marks Declaration, Attached). Furthermore, the parties were in settlement discussions in

  order to resolve the matter (Marks Declaration at ¶ 2).

                                              Argument

         Rule 55 of the Federal Rules of Civil Procedure states that the “court may set aside any

  entry of default for good cause.” Determination of whether good cause exists depends upon the

  Court's applying its discretion with proper regard to the peculiar circumstances surrounding the

  case before it. McGrady v. D'Andrea Electric, Inc., 434 F.2d 1000, 1001 (5th Cir. 1970).

  Defaults are viewed with disfavor because of the strong policy of determining cases on their

  merits. Gulf Coast Fans, Inc. v. Midwest Elecs. Importers, Inc., 740 F.2d 1499, 1510 (11th

  Cir.1984). In order to establish mistake, inadvertence, or excusable neglect, the defaulting party

  must show that: (1) it had a meritorious defense that might have affected the outcome; (2)

  granting the motion would not result in prejudice to the non-defaulting party; and (3) a good

  reason existed for failing to reply to the complaint. E.E.O.C. v. Mike Smith Pontiac GMC, Inc.,

  896 F.2d 524, 528 (11th Cir.1990).

         Plaintiff claims that Defendant failed to secure and provide CITES permits for its

  shipment of goods. Plaintiff contends that the alleged failure to provide CITES permits caused

  damages to Plaintiff. However, Defendant intends to show that Plaintiff’s goods were shipped

  from Italy to Monaco and a CITES permit is not required for intra-European Union shipments.

  For example see www.eu-wildlifetrade.org/pdf/en/3_permits_en.pdf, section 2.2, ‘Internal Trade

  in the EU.’ Therefore, if the Court vacates the default, Defendant has a meritorious defense that

  may bar Plaintiff’s recovery. See Simmons v. Ohio Civil Service Emp. Assoc., 259 F.Supp.2d 677



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  (S.D.Ohio 2003). (A defendant is not required to prove the likelihood that its proffered defense

  will succeed in order to obtain relief from the entry of a default judgment; rather the test is

  whether the defense relied upon is good at law.)

         Vacating the default will not prejudice the Plaintiff. There is no risk of loss of evidence

  nor is there any risk of increased difficulties in discovery. See DIRECTV, Inc. v. Meyers, 214

  F.R.D. 504 (N.D.Iowa 2003). (Prejudice at issue in a motion to set aside a default may not be

  found from delay alone or from the fact that the defaulting party will be permitted to defend on

  the merits; instead, setting aside a default must prejudice plaintiff in a more concrete way, such

  as loss of evidence, increased difficulties in discovery, or greater opportunities for fraud and

  collusion.)

         Defendant’s conduct is excusable neglect sufficient to justify vacating the default.

  Defendant’s failure to plead was not due to gross neglect on its part or that of its attorney but

  rather, the entry of default was due to its good faith belief that it was not yet required to respond

  and that settlement negotiations were proceeding without having to resort to the court. Therefore,

  vacating the default is appropriate and will within the court’s discretion. See Whitman v. U.S.

  Lines, Inc., 88 F.R.D. 528, 529 (D.C. Texas 1980) (Defendant asserts that the entry of default

  was due to its excusable neglect, i.e., due to its good faith belief that settlement negotiations were

  proceeding and that the dispute could be resolved without resort to the courts. Although Plaintiff

  controverted this allegation, the Court granted Defendant’s motion to set aside default); see also

  Morris v. Charnin, 85 FRD 689 (S.D.N.Y. 1980) (Defendant acknowledged service of summons

  and complaint, but simply forgot to notify his attorneys until attorneys informed him that they

  had heard a default had been entered. Although Defendant acted in an unbusinesslike fashion, his




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  conduct did not amount to gross neglect and Defendant’s motion to set aside default judgment

  was granted).

         Undersigned counsel spoke with counsel for Plaintiff who indicated they oppose the

  relief requested herein.

                                              Conclusion

         Based on Defendant’s excusable neglect, Defendant respectfully requests that this court

  grant its motion to vacate the clerk’s default and grant it ten days within which to respond to the

  Plaintiff’s complaint.

  Dated this 18th day of May 2009.

                                        Respectfully submitted,
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              Defendant.
  _______________________________________/


                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 18, 2009, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record identified on the attached Service List by e-mail and via

  transmission of Notices of Electronic Filing generated by CM/ECF for those counsel or parties who

  are authorized to receive electronically Notices of Electronic Filing.



                                                 By:    /s/ Robert J. Becerra
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                                                 Sandler, Travis & Rosenberg, P.A.




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